Case 2:15-cv-01045-RFB-BNW Document 948-2 Filed 12/22/23 Page 1 of 27




              EXHIBIT 1
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         REDACTED VERSION OF
             ECF NO. 256-4
Case 2:15-cv-01045-RFB-BNW Document 948-2 Filed 12/22/23 Page 2 of 27




              EXHIBIT B
        Executed Agreement
Case 2:15-cv-01045-RFB-BNW Document 948-2 Filed 12/22/23 Page 3 of 27
Case 2:15-cv-01045-RFB-BNW Document 948-2 Filed 12/22/23 Page 4 of 27
Case 2:15-cv-01045-RFB-BNW Document 948-2 Filed 12/22/23 Page 5 of 27
Case 2:15-cv-01045-RFB-BNW Document 948-2 Filed 12/22/23 Page 6 of 27
Case 2:15-cv-01045-RFB-BNW Document 948-2 Filed 12/22/23 Page 7 of 27
Case 2:15-cv-01045-RFB-BNW Document 948-2 Filed 12/22/23 Page 8 of 27
Case 2:15-cv-01045-RFB-BNW Document 948-2 Filed 12/22/23 Page 9 of 27
Case 2:15-cv-01045-RFB-BNW Document 948-2 Filed 12/22/23 Page 10 of 27
Case 2:15-cv-01045-RFB-BNW Document 948-2 Filed 12/22/23 Page 11 of 27
Case 2:15-cv-01045-RFB-BNW Document 948-2 Filed 12/22/23 Page 12 of 27
Case 2:15-cv-01045-RFB-BNW Document 948-2 Filed 12/22/23 Page 13 of 27
Case 2:15-cv-01045-RFB-BNW Document 948-2 Filed 12/22/23 Page 14 of 27
Case 2:15-cv-01045-RFB-BNW Document 948-2 Filed 12/22/23 Page 15 of 27
Case 2:15-cv-01045-RFB-BNW Document 948-2 Filed 12/22/23 Page 16 of 27
Case 2:15-cv-01045-RFB-BNW Document 948-2 Filed 12/22/23 Page 17 of 27
Case 2:15-cv-01045-RFB-BNW Document 948-2 Filed 12/22/23 Page 18 of 27
Case 2:15-cv-01045-RFB-BNW Document 948-2 Filed 12/22/23 Page 19 of 27
Case 2:15-cv-01045-RFB-BNW Document 948-2 Filed 12/22/23 Page 20 of 27
Case 2:15-cv-01045-RFB-BNW Document 948-2 Filed 12/22/23 Page 21 of 27
Case 2:15-cv-01045-RFB-BNW Document 948-2 Filed 12/22/23 Page 22 of 27
Case 2:15-cv-01045-RFB-BNW Document 948-2 Filed 12/22/23 Page 23 of 27
Case 2:15-cv-01045-RFB-BNW Document 948-2 Filed 12/22/23 Page 24 of 27
Case 2:15-cv-01045-RFB-BNW Document 948-2 Filed 12/22/23 Page 25 of 27
Case 2:15-cv-01045-RFB-BNW Document 948-2 Filed 12/22/23 Page 26 of 27
Case 2:15-cv-01045-RFB-BNW Document 948-2 Filed 12/22/23 Page 27 of 27
